
76 So.3d 391 (2011)
Larry PALMER, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-4949.
District Court of Appeal of Florida, First District.
December 30, 2011.
Larry Palmer, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and Larry Palmer is hereby afforded a belated appeal of the order of the Circuit Court for Escambia County which denied postconviction relief in case number 2008 CF 005950 A. Upon issuance of mandate in this cause, a copy of the opinion shall be provided to the clerk of the lower tribunal who shall treat *392 it as a notice of appeal. Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
VAN NORTWICK, WETHERELL, and MARSTILLER, JJ., concur.
